Case 1:14-ml-02570-RLY-TAB Document 19785 Filed 08/27/21 Page 1 of 2 PageID #:
                                 123084



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                  Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                     MDL No. 2570


This Document Relates to:

Dennis A. Seckman 1:21-cv-06538-RLY-TAB




                                 NOTICE OF APPEARANCE

To: The Clerk of Court and all parties of record:


       I am admitted or otherwise authorized to practice in this Court, and I appear in this

case on behalf of Plaintiff set forth in the above reference matter.



                                                    Respectively submitted,

                                                     /s/ Paul L. Stoller
Dated: 8/27/21                                      Paul L. Stoller
                                                    (Admitted Pro Hac Vice, AZ Bar No. 016773)
                                                    DALIMONTE RUEB STOLLER, LLP
                                                    2425 E. Camelback Road, Suite 500
                                                    Phoenix, Arizona 85016
                                                    Tel: (602) 888-2807
                                                    Fax: (855) 203-2035
                                                    paul@drlawllp.com

                                                    Lead Counsel for Plaintiff
Case 1:14-ml-02570-RLY-TAB Document 19785 Filed 08/27/21 Page 2 of 2 PageID #:
                                 123085



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 27, 2021, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the CM/ECF participants registered to receive service in this MDL.


                                                    /s/ Paul L. Stoller
                                                    Paul L. Stoller




                                                2
